Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 1 of 14 PageID #: 635




           In the United States District Court for the
              Eastern District of New York (Islip)

                                  WILLIAM E. CUTHBERT,
                                     Plaintiﬀ - Movant,

                                               v.

                  THE TOWN OF EAST HAMPTON, NEW YORK;
                    FRANK TROTTA; and HARRY JOHNSON;
                           Defendants - Respondents.



     Rule 59(e), 60(b)(6), LR 6.3 Request for Relief from Prior Order and for Reconciliation
                             FRE § 201 Request for Judicial Notice

                            Civil Action No. 18-CV-4796 ( JS) (AYS)


    MEMORANDUM OF LAW OF PLAINTIFF-MOVANT PRO SE
                WILLIAM CUTHBERT

        �is memorandum was initially prepared with the substantial assistance of
        Frederick M. Oberlander, pro bono counsel admitted in New York State and
   in this Court , who cannot generally appear for Plaintiﬀ but has written this for him.
  However, Plaintiﬀ has agreed that Mr. Oberlander may make a limited appearance for
 him subject to a limited scope representation whereby his work in this case will be strictly
     constrained to securing a vacatur of dismissal either entirely or as to state claims.

                       ORAL ARGUMENT REQUESTED




                                                                                                i
Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 2 of 14 PageID #: 636



                                          CONTENTS

I.   RELIEF SOUGHT BY, AND NATURE OF, THIS MOTION ................ 1

     A. Relief Requested .......................................................................... 1

         1.   Two Examples of a Proposed Modiﬁed Order ....................................................... 1

     B. The Motion Is Timely .................................................................. 2

II. STATEMENT OF THE CASE ...................................................... 3

III. ARGUMENT: PLAINTIFF CAN PERHAPS WELL PLEAD IN § 1983
     FOR UNDERLYING CONSTITUTIONAL TORTS ........................... 5

     A. The Current State of § 1983 Law Is Sufﬁciently a Mess That
        Fairness Requires This Court Give All Possible Consideration
        to Plaintiff to This Point (He Has of Course Been Assisted by
        Counsel on This Motion). ........................................................... 5

         1.   Example of Degenerating Chronicity: Qualiﬁed Immunity .................................... 5

         2.   Example of Degenerating Chronicity: Heck-Williams-McDonough-Manuel ............. 5

     B. Legal Requirements of a § 1983 Claim as Applicable Here ............ 5

     C. Plaintiff Has a Colorable § 1983 Claim for Malicious
        Prosecution ................................................................................ 6

IV. ARGUMENT: PLAINTIFF CAN WELL PLEAD IN ANCILLARY
    STATE COMMON LAW TORT .................................................... 9

     A. Malicious Prosecution ............................................................... 9

     B. False Arrest............................................................................... 10

V.   A VENUE ISSUE: WHICH AMERICA ARE WE LITIGATING IN....... 11

VI. CONCLUSION ........................................................................ 12




                                                                                                               i
Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 3 of 14 PageID #: 637




I.         RELIEF SOUGHT BY, AND NATURE OF, THIS MOTION

B%         Relief Requested

           On May 19, 2020, this Court entered qua ﬁnal judgment, ECF 31, granting the FRCP

§ 12(b)(6) motions of all Defendants to dismiss all Plaintiﬀ’s claims, which claims sounded in

§ 1983 constitutional and state common law tort, ending the case with prejudice. Notably, the

Court held that giving Plaintiﬀ leave to amend his original complaint – he has never done so –

would be futile as its shortcomings were substantive.

           For reasons stated below, which come down to Plaintiﬀ’s disagreement with the

Court’s analysis of the interplay of substantive and procedural aspects of § 1983 in the contexts

of false arrest, malicious prosecution, and related constitutional torts.

           In sum, Plaintiﬀ has a case buried in him, still timely, but unfortunately buried under a

ton of dross submitted in good faith by a pro se plaintiﬀ with little if any help from lawyers (for

the record, I, assisting counsel on this motion, had nothing to do with preparation or submis-

sion of anything that went into this Court before a May 18, 2020, FRCP § 6 motion to enlarge

time.) This is addressed further below.

1.         Two Examples of a Proposed Modiﬁed Order

           Plaintiﬀ makes the record that he asks, (1) vacatur of that order and its reissue dis-
missing § 1983 claims by § 12(b)(6) and state law claims without prejudice, the court in dis-

cretion not taking supplemental jurisdiction of them after dismissal of federal claims (Plain-

tiﬀ objecting to retention of jurisdiction) so he may continue them in state court 1; or (2)

1
    See Cohen v. Postal Holdings, 873 F.3d 394 (CA2 2017), Calabresi, concurring:

           [T]the default rule is that federal courts should not decide related state-law claims unless there is
           good reason…See United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966) ("Needless deci-
           sions of state law should be avoided both as a matter of comity and to promote justice between the
           parties, by procuring for them a surer-footed reading of applicable law. [I]f the federal claims are
           dismissed before trial, even though not insubstantial in a jurisdictional sense, the state claims should
           be dismissed as well.")…
           [O]ur circuit takes a very strong position that state issues should be decided by state courts. Our
           circuit is probably the circuit that most frequently certifies questions to state courts. The…policy

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Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 4 of 14 PageID #: 638




vacatur dismissing the case with prejudice unless Plaintiﬀ, within 60 days (with lockdown and

diﬃculty obtaining help) of entry, ﬁles and serves a First Amended complaint in compliance

with the Court’s Individual Rules; in either case eliminating certiﬁcation of Plaintiﬀ’s bad

faith if he appeals forma pauperis.

A%         The Motion Is Timely

           The Court will please take note that an apparent inconsistency between LR 1.4 and

FRCP §§ 59 and 60 has for some number of years been resolved decisionally to allow 28 days

for this ﬁling in general and for purposes of tolling FRAP § 4 even though the LR says 14 days,

and to recognize that citation to any of those rules is not signiﬁcant here as they will all, and

each of them, allow this prayer for relief. 2




           suggests that federal courts most often ought to leave state issues to state courts as readily and as
           early in a proceeding as possible…
           [If] neither party asks the court to decline…supplemental jurisdiction over…state-law
           claims…where the federal district court has not expended a significant … time on the case, and
           …state-law issues are complex and uncertain, we have held it…an abuse of discretion for the court
           to exercise supplemental jurisdiction over purely state-law claims. Valencia ex rel. Franco v. Lee, 316
           F.3d 299, 305 (CA2 2003) (collecting c ases). [T]he complexity of the state-law issues suffices to
           make the court focus on the default rule, even in the absence of a request by any of the parties. Having
           done so, a district court ought not to exercise supplemental jurisdiction over purely state-law claims
           unless there are strong reasons for doing otherwise. In such cases we, in reviewing district court de-
           cisions, can, in effect, choose to overlook the parties' forfeiture, and order dismissal of the state-law
           claims. See also Kolari v. N.Y.-Presbyterian Hosp., 455 F.3d 118, 122 (CA2 2006) (district
           court's…decision to exercise supplemental jurisdiction "an error of law,"…an abuse of discretion,
           without considering whether either party ever asked the district court to remand the state-law
           claims).
2
    Levitant v. Workers Comp. Bd. of N.Y., 2019 U.S. Dist. LEXIS 194852 (EDNY):
           Even if Levitant had [moved] in 59(e ) and LR 6.3, 14-day LR 6.3 limit only applies unless otherwise
           provided by Court, statute or rule. [M]ost courts [find] LR 6.3 does not supplant limit for 59(e)mo-
           tions. Smith v. City of New York, No. 12 Civ. 8131 (JGK), 2014 U.S. Dist. LEXIS 78475, (SDNY)
           (14-day LR 6.3 limit does not…trump limits in 59(e) and 60(b) for motion to modify judg-
           ment); Simpson v. City of New York, No. 12 Civ. 6577 (KBF), 2014 U.S. Dist. LEXIS 20699 (SDNY
           2014) (28-day 59(e) limit supersedes 14-day LR 6.3 limit).

                                                                                                                       2
Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 5 of 14 PageID #: 639




II.     STATEMENT OF THE CASE

        Can state or local police, within the bounds of the United States constitution, attack a

citizen on US soil, arrest him without reason or cause, and use excessive force to do so? The

answer, of course, is no. Several hundred million persons would agree, judging from coverage

of Floyd-related protest. Surely, that Plaintiﬀ is white doesn’t make it any better. Nor can

police then instrument, perhaps with participation of state or local prosecutors, even dare one

say a state or local judge, his malicious prosecution by venally charging him, even convicting

him, of acts they know don’t constitute crimes.

        . That’s what Plaintiﬀ says happened to him by his East Hampton home, for no reason

but malice. Defendant oﬃcers involved haven’t denied it happened; they can’t. There’s not

enough duct tape in the world to hold together the foundation they’d need to build that house

of cards, impeaching ﬁrst their witnesses, then themselves. No, they say, “We can do this with

impunity, by jurisdictional technicality make up crimes that don’t exist, if prosecutors and

judges go along convict, and if Appellate says, ‘It’s not a crime,’ reversing, we’ll rely on illu-

sory Second Circuit authority that the NY Court of Appeals says the US Constitution allows

it.” This is an epic fail.

        Plaintiﬀ is aware of your honor’s history in public defense and civil rights and under-

stands no further lecture about human dignity is required. Counsel helping him apologizes if

even this minor vehemence has gone too far. But times are what they are.

        Because assisting counsel lives near the locus delicti and is well-known, in April 2020 he

was asked to help prepare an FRCP § 72(b) objection to the magistrate’s R&R advising dismis-

sal. But seriously ill health barred much, and maybe too much damage had been done by ex-

cessive prior submissions. Still, because of ﬁling and related errors Plaintiﬀ and others made,

counsel feels he ought to explain and apologize for them: though they know not what they did,

their motives were pure.

        Plaintiﬀ asks the Court to accept the following brief de novo presentation of the factual


                                                                                                 3
Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 6 of 14 PageID #: 640




and procedural histories that got us here. Nothing like it is usually ﬁled. It’s vital as when all is

said and done, Plaintiﬀ has a case in him somewhere, which ought to be pleadable by a Rule

§ 15 amended complaint, despite the Court’s contrary opinion.

       Plaintiﬀ was arrested at the scene of a minor (no injury) traﬃc accident on a charge of

disorderly conduct (“discon”). He was roughed up during arrest; there is no doubt, between

his testimony, medical evidence, police records, and percipient witness testimony from his

ﬁancée. But it was abuse, not murder. No bones were broken, or permanent visible scarring or

life-changing disability induced. And while it’s true that the arresting oﬃcer kept his knee on

Plaintiﬀ’s back a long time, and it was injurious, and humiliating (he was kept pressed to iced-

over ground for nearly an hour), it wasn’t pressed to his neck, he wasn’t pleading that he

couldn’t breathe, and he didn’t die.

       Except perhaps he did, in a way, inside. And if he did, if his psychic injuries were such
that each day after he awoke miserable, feeling powerless – not all permanent scars are visible

– if, for example, he no longer could enjoy what he did because of complex emotional responses

of guilt, or concern he shouldn’t be enjoying anything, but spend his time gathering nuts

against a future time he’ll be humiliated by those paid to serve and protect…Well it’s possible

he can sue for that here, now, by amending, or in state court by the court’s dismissal without

prejudice of the state law claims. That’s the raison d’etre for this motion. We ask the Court be

forgiving in not over-interpreting this, but one may be assured that from his perspective he

feels worse now as he believes the courts let him down too. Please be assured no one expects

this Court to mold itself to behavior he ﬁnds anodyne. All that is expected is that the Court

consider whether he can plead a case and if so modify its order of dismissal and reissue as set

forth in the section immediately proceding, viz.




                                                                                                    4
Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 7 of 14 PageID #: 641




III.   ARGUMENT: PLAINTIFF CAN PERHAPS WELL PLEAD IN § 1983
       FOR UNDERLYING CONSTITUTIONAL TORTS

B%     The Current State of § 1983 Law Is Suﬃciently a Mess That Fairness
       Requires This Court Give All Possible Consideration to Plaintiﬀ to This Point (He
       Has of Course Been Assisted by Counsel on This Motion).

       At the outset, it must be said that the state of § 1983, especially in this circuit, is a mess.

That shouldn’t be a surprise, as Civil War-era law would not likely have been designed to ﬁt

well within what law would be 200 years in the future, and it doesn’t. For want of better term,

Plaintiﬀ will refer to some of these problems as those of a degenerating chronicity, meaning

those which (as may be proven mathematically, but not in this paper) inevitably become more

and more a mess over time.

1.     Example of Degenerating Chronicity: Qualiﬁed Immunity

       Semble the entire world is now well-familiar with this judge-made doctrine that says,

“Let’s ﬁx it so Oﬃcer D isn’t liable to Plaintiﬀ P for beating him to a pulp with a metric wrench

because there’s no case with such facts before, such that D would know not to do that because,

well, it’s a constitutional crime – even though we have case law saying it’s illegal to do it with

an English wrench, clearly that’s well distinguishable…”

2.     Example of Degenerating Chronicity: Heck-Williams-McDonough-Manuel

       If one can show us signiﬁcant federal jurisprudence in equitable tolling taking place at

the time the KKK was lynching Reconstruction-era minorities, we would love to see it. Yet at

least 80% of § 1983 case law in the last few decades has involved interplay of statutes of limita-

tions, tolling, estoppel, accrual, continuing tort, etc.

A%     Legal Requirements of a § 1983 Claim as Applicable Here

       (a)     One must plead the constitutional injury and the factual elements of same.
               It’s pretty irrelevant what article or amendment one asserts controls; one
               can argue a right to trial without fabricated evidence can be sourced to divers
                                                                                                     5
Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 8 of 14 PageID #: 642




              amendments without aﬀecting a result.

       (b)    One must plead the factual elements to the appropriate standard.

       (c)    Claim accrual follows federal law. Limitations periods follow state law to the
              extent tort analogue or general or savings periods exist.

       (d)    Continuing harm and continuing wrong aren’t the same. If a wrong goes on
              for years, the claim accrues immediately, but the statute doesn’t run till the
              wrong stops, even if the harm continues past that.

       (e)    There’s no equitable toll, we’re stuck with a mess the constellation of Heck,
              Williams, McDonough , and Manuel creates on such issues as impugning met-
              aphysically possible convictions and timing.

       (f)    This circuit allows a partial malicious prosecution case where, for example,
              there were several charges and only one had the innocencesuggesting favor-
              able termination mistakenly believed to be required.

       (g)    Case law on a need for innocence-suggesting favorable termination of typi-
              cally fails to consider that reversal of a conviction on appeal where grounds
              of facial insuﬃciency exist alongside other bases like legal innocence (com-
              plete absence of evidence by which to convict), and the appellate Court re-
              verses on insuﬃciency without reaching the other grounds by mootness; a
              § 1983 court may search the record to establish that beside facial insuﬃ-
              ciency there was legal innocence.

       (h)    Nominal damages, even merely declaratory relief suﬃce to maintain a
              § 1983 claim, or even purely equitable relief. Plaintiﬀ is entitled to his day in
              court even if he cannot establish large causal damages.

       (i)    There’s no constitutional right not to be prosecuted maliciously, but we pre-
              tend there is because, well, one did note § 1983 is just a mess.

D%     Plaintiﬀ Has a Colorable § 1983 Claim for Malicious Prosecution

       Semble the entire world is now well-familiar with this judge-made doctrine that says,

“Let’s ﬁx it so Oﬃcer D isn’t liable to Plaintiﬀ P for beating him to a pulp with a metric wrench

                                                                                                  6
Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 9 of 14 PageID #: 643




because there’s no case with such facts before, such that D would know not to do that because,

well, it’s a constitutional crime – even though we have case law saying it’s illegal to do it with

an English wrench, clearly that’s well distinguishable…”

       Plaintiﬀ concedes the legal and factual correctness of the Court’s determination that

(1) the § 1983 claims he made, sounding in (1) false arrest for lack of probable cause and exces-

sive force during same, and (2) malicious prosecution, are all subject to the same limitations

periods imported from New York state law of 3 years and accrual rules found in federal law of

(1) the date of arrest, as to false arrest; and (2) the date of any favorable termination as would

indicate actual innocence, as to malicious prosecution. As there is no known extrinsic issue

that might justify tolling (minority, incapacity, etc.) in the absence of any coming to light very

shortly Plaintiﬀ concedes (1) the excessive force § 1983 claim was time-barred before the com-

mencement of this matter; (2) in the absence of any Manuel v. City of Joliet, 137 S. Ct. 911, 197
(2017) issues, false arrest continuing wrong based upon continuing detention which com-

menced pre-charge, the false arrest claim was time-barred before the commencement; and (3)

the malicious prosecution claims accrued upon a favorable termination, but while there was

one such termination by acquittal at trial in 2014 of harassment, that was time-barred before

the commencement.

       Plaintiﬀ vehemently disagrees however with the Court’s determination that the mali-

cious prosecution claims for the prosecution of false arrest and resisting arrest will not support

malicious prosecution in § 1983 on the court’s (precedentially supported) theory that the ter-

mination must be indicative of innocence and the termination here by appellate reversal on the

“technicality” of pleading insuﬃciency.

       Rather, after exhaustive research, Plaintiﬀ believes that no court court (or any ever con-

sidered the ramiﬁcation of such a proposition in a § 1983 action where there is signiﬁcant avail-

able evidence, even that capable of FRE § 201 notice, of legal innocence.

       By legal innocence, in this context, Plaintiﬀ means the situation, as transpired here,

where what he was charged with, the facts stated in the charging instrument, even if not

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Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 10 of 14 PageID #: 644




 insuﬃcient (in other words, even if all complete), simply do not as a matter of law constitute a

 crime, or at least the crime prosecuted.

        For example, New York recognizes the right of a one being unlawfully arrested to use

 necessary force to resist, and that lack of probable cause to arrest makes the arrest illegal per

 se. Therefore, where as here there were inconsistent verdicts, because it is not possible to ac-

 quit on harassment while convicting on resisting arrest, and where the trial record shows Of-

 ﬁcer Trotta’s sworn testimony as to facts which taken as true make probable cause impossible

 to have ever existed, and he may be estopped to deny or to change that testimony or otherwise

 sanctioned (the citation escapes Plaintiﬀ, but there is case law that says when an attorney ﬁles

 veriﬁed papers then subsequently ﬁles more veriﬁed papers contradicting what was sworn to

 in the ﬁrst set, it is a presumptive ethics violation, presumably something similar must apply

 with law enforcement oﬃcers.

        Without belaboring the point here, Plaintiﬀ requests that he be permitted to amend to

 plead malicious prosecution based on a termination in fact, that is from the clear record of the

 trial, regardless of the mootness problem in the state appeal preventing that court from reach-

 ing the issue, was indeed conclusive or at at the very least consistent with legal innocence.




                                                                                                 8
Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 11 of 14 PageID #: 645




 IV.    ARGUMENT: PLAINTIFF CAN WELL PLEAD IN
        ANCILLARY STATE COMMON LAW TORT

 B%     Malicious Prosecution

        Like its § 1983 counterpart, this tort accrues upon favorable termination, but unlike the

 § 1983 ﬂavor, the statute runs for one year, not for three. So, again, a claim based on the 2014

 acquittal on harassment was time-barred before the commencement. And again, a claim based

 on the 2017 favorable termination of disorderly conduct and resisting arrest would not have

 been time barred because they would have accrued less than a year before the commencement.

 But – this is key – wouldn’t they be subject to the same problem as a § 1983 ﬂavor of malicious

 prosecution, again requiring favorable termination indicative of innocence?

        No. The Court itself in its own memorandum of law, ECF 30, cites the cases, in fact

 relies on them, that support that answer, which for emphasis is again, “NO!” That’s because

 the case in question, Lanning v. City of Glens Falls, 908 F.3d 19 (2018) makes clear that (1) state

 tort law is at best a guide to what the federal law for the lookalike § 1983 should be, but is not

 determinative; and conﬁrmed that 20 years ago state law and that federal law diverged:

        In 2000…the Court of Appeals, in Smith-Hunter v. Harvey …for the first time char-
        acterized favorable termination language in its prior cases as dicta; it…"reject[ed]
        the notion" that a plaintiff asserting a State tort claim for malicious prosecution, at
        least under the " circumstances" in that case, " demonstrate innocence…to satisfy
        the favorable termination prong." 95 N.Y.2d 191 (2000). In 2001, in Cantalino v.
        Danner, 96 N.Y.2d 391, 754 (2001), the Court of Appeals…[characterized] Smith-
        Hunter as holding "any termination of a criminal prosecution, such that the criminal
        charges may not be brought again, qualifies as a favorable termination, so long as
        the circumstances surrounding termination are not inconsistent with the innocence
        of the accused," 96 N.Y.2d at 395. The "rule in Smith-Hunter," the Court of Appeals
        [said] "is one of general application," id. at 397. The termination…involved a dis-
        missal in the interest of justices…uch a dismissal, the Court of Appeals concluded,
        can count as a favorable termination where the court's reasons for dismissing are
        "not inconsistent with . . . innocence." Id. at 395. With that, Cantalino appeared to
        deviate…from traditional common law of torts, which, in the Restatement, requires
        a favorable termination affirmatively indicate the innocence of the accused. See Re-
        statement § 660 cmt. a (criminal proceedings terminate in favor of the accused only
        when final disposition is such as to indicate innocence of the accused").

                                                                                                   9
Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 12 of 14 PageID #: 646




        With the added support of Plaintiff’s legal innocence theory, supra, surely this Court must

 one way or the other allow him to plead the malicious prosecution claim in state law appropriate.

 B.     False Arrest

        The tort in New York has by recent decision of the Court of Appeals been held to ac-

 crue at the time of favorable termination, and so a state law claim clearly relating back will not

 be time-barred with respect to harassment and disorderly conduct. Again, Plaintiﬀ must be

 allowed to plead same.




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Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 13 of 14 PageID #: 647




 V.     A VENUE ISSUE: WHICH AMERICA ARE WE LITIGATING IN

        The past is never dead. It’s not even past. When I was little, my mother said if when I

 went for a walk I got upset, ﬁnd a policeman. Children’s books said police are your friends and

 take you home if you’re lost (after they take you to the station and give you ice cream). That’s

 where I lived, in a place called America. I still live there, but I’m old and ill so can’t go for a

 walk now without worrying I’ll contract a virus and die. Besides suing God, there’s little I can

 do about why I can’t take a walk without fearing for my life. That’s why it’s called an act of

 God. But some now for the ﬁrst time feel like Plaintiﬀ has always felt, afraid to go for a walk as

 he is afraid to go for a drive without fearing for their lives, not by act of God, but by act of man.

 I refer to those aﬀected by what happened in Georgia, in Minnesota, in Arizona. People who

 never thought about going out for a walk in broad daylight, not in 21st century America, even

 if black, or whatever someone hates at the moment, now wonder which America they inhabit.

        We fought a civil war to unite what was two Americas so anyone could walk without

 wondering if they’d get home alive. So many react with outrage for they never lived in the

 America where they had to worry, because we put an end to it. One way was the passage of post-

 Civil War laws like § 1983. But a lesson we must relearn is, times change but people don’t, we

 can’t let our guard down. That’s why this case matters. Some may imagine Plaintiﬀ has a sad

 life from years of parental abuse, detachment disorder, stress. Sometimes all one can do is sue

 God, it’s no one’s fault, bad lives happen to good people. But sometimes it is someone’s fault.

 For vindication, he won’t have to sue God; suing defendants will do. He messed up some of

 the case, but some shortfalls are ﬁxable. Facts are clear: he took a drive in what he thought was

 his America minding his business and without reason got beaten up by police paid to protect

 him who maybe an hour before were in that other America buying ice cream for a lost little kid.

        The question is, in which America does this court sit; the issue is, as he can’t sue God,

 will it give him the second chance fundamental fairness and rules of procedure say it should to

 sue those who think they are God because they wear a uniform and carry a badge and a gun?


                                                                                                    11
Case 2:18-cv-04796-JS-AYS Document 36 Filed 06/16/20 Page 14 of 14 PageID #: 648




 VI.    CONCLUSION

        Wherefore the above, Plaintiff prays this court for the relief set forth supra, the vacatur

 and subsequent modification of the order of dismissal and final judgment, and prays for such

 other relief, whether in law or equity, as this Court deems just and proper.



 June 16, 2020

 /s/ Frederick M. Oberlander
 Special limited counsel for Plaintiff




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